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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DANIEL MILLER, as Trustee of the                    )
UNITE HERE CHICAGO HOSPITALITY                      )
APPRENTICESHIP FUND,                                )
                                                    )
and                                                 )
                                                    )
UNITE HERE CHICAGO HOSPITALITY                      )
APPRENTICESHIP FUND,                                )
                                                    )       Case No. 1:19-cv-07611
       Plaintiffs,                                  )
                                                    )
              v.                                    )
                                                    )       Judge
NEW HARRISON HOTEL CORP. d/b/a                      )
TRAVELODGE CHICAGO, an Illinois                     )
corporation,                                        )
                                                    )
       Defendants.                                  )

                                        COMPLAINT

       Plaintiffs, the UNITE HERE Chicago Hospitality Fund Apprenticeship Fund (“Fund”),

and their authorized Trustee, Daniel Miller, through their attorneys, Dowd, Bloch, Bennett,

Cervone, Auerbach & Yokich, by way of their complaint against Defendant New Harrison Hotel

Corp. d/b/a Travelodge Chicago state as follows:

                              The Parties, Jurisdiction, and Venue

       1.     The Fund is a multiemployer benefit plan within the meaning of Sections 3(3) and

3(37) of the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29

U.S.C. § 1002(3) and (37A).

       2.     The Fund maintains an office and conducts business within this District.

       3.     The Fund is a fiduciary authorized to bring this action on behalf of its participants

and beneficiaries pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3).
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        4.      Daniel Miller is a Trustee of the Fund and is a fiduciary with authority to bring

this action on behalf the Fund’s participants and beneficiaries pursuant to Section 502(a)(3) of

ERISA, 29 U.S.C. § 1132(a)(3).

        5.      Defendant New Harrison Hotel Corp. d/b/a Travelodge Chicago (“Travelodge”) is

an Illinois corporation that does business within this District and is an employer within the

meaning of ERISA Section 3(5), 29 U.S.C. § 1002(5), and Section 101 of the Labor

Management Relations Act (“LMRA”), 29 U.S.C. § 152(2).

        6.      Jurisdiction and venue are vested in this Court under ERISA Sections 502(e)(1)

and (2), 29 U.S.C. § 1132(e)(1) and (2), and LMRA Sections 301(a) and (c), 29 U.S.C. § 185(a)

and (c).

                               COUNT I:
               FAILURE TO PAY EMPLOYEE BENEFIT CONTRIBUTIONS

        7.      Plaintiffs re-allege and incorporate by reference paragraphs 1 through 6 above, as

if fully stated in Count I.

        8.      UNITE HERE Local 1 (“Local 1”) is a labor organization within the meaning of

29 U.S.C. § 185(a).

        9.      At all revenant times, Travelodge has been a party to a collective bargaining

agreement with Local 1 (“Agreement”), which obligates Travelodge to make monthly

contributions to the Fund on behalf of all of its employees covered by the Agreement at the rate

of $0.03 per hour worked by the covered employee.

        10.     The Agreement also requires Travelodge to submit monthly remittance reports to

the Fund in which Travelodge identifies the employees covered under the Agreement and the

amount of contributions remitted to the Fund on behalf of each covered employee.




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        11.    The Agreement and the Fund’s governing documents obligate Travelodge to

remit, by the 15th of every month, monthly contributions and to submit monthly contribution

reports to the Fund for the prior month.

        12.    Under the Agreement and the Fund’s governing documents, if Travelodge is late

in remitting contributions, it is subject to interest in the amount of the unpaid contributions at the

rate of 1.5% per month and liquidated damages. If the Fund files a lawsuit to collect unpaid

contributions, liquidated damages automatically increase to 20% of the unpaid contributions (or

if greater, the amount of interest on the unpaid contributions), as provided under the Fund’s

governing documents and as provided under Section 502(g)(2) of ERISA, 29 U.S.C. §

1132(g)(2)..

        13.    Travelodge is also liable for all costs of collection, including attorneys’ fees and

costs, pursuant to the Fund’s governing documents and under 29 U.S.C. § 1132(g)(2).

        14.    On information and belief, Travelodge has employed individuals covered by the

Agreement from at least September 1, 2017 through the December 31, 2018.

        15.    Notwithstanding its obligations under the Agreement, Travelodge failed to report

and remit contributions to the Funds for the period of September 2017 through December 31,

2018.

        16.    Despite demand duly made, Travelodge has not remitted the contributions and

other amounts that are due and owing for September 2017 through December 2018.

        17.    Travelodge’s failure to submit contributions to the Fund violates ERISA § 515, 29

U.S.C. § 1145, and LMRA § 301, 29 U.S.C. § 185.

        18.    Under ERISA Section 502(g)(2), 29 U.S.C. § 1132(g)(2), the terms of the

Agreement, and the Funds’ governing documents, Travelodge is liable to the Fund for unpaid



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contributions for the months of September 2017 through December 2018, interest, liquidated

damages in the amount of 20% (or, if greater, the amount of interest on the unpaid

contributions), and reasonable attorneys’ fees and court costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request a judgment against New Harrison Hotel

Group d/b/a Travelodge Chicago as follows:

       1.      Finding that Travelodge Chicago violated the Agreement;

       2.      Finding that Travelodge Chicago is liable to the Fund for principal contributions
               for the months of September 2017 through December 2018, including interest and
               liquidated damages, and is also liable to the Fund for attorneys’ fee and costs
               incurred in collecting such delinquencies;

       3.      Ordering Travelodge Chicago to report and pay to the Fund all delinquent
               contributions to date, interest, and liquidated damages;

       4.      Ordering Travelodge Chicago to pay to the Fund all reasonable attorneys’ fees
               and costs incurred to collect the contributions sought through this lawsuit;

       5.      Entering judgment against Travelodge Chicago in the amount of principal
               contributions owed for the period of September 2017 through December 2018,
               plus interest, liquidated damages, and costs and attorneys’ fees incurred in
               connection with the Fund’s efforts to recover this money; and

       6.      Granting all such other legal and equitable relief as the Court deems just and
               proper.


                                                             Respectfully submitted,

                                                             /s/ Elizabeth L. Rowe
                                                             Elizabeth L. Rowe
                                                             One of Plaintiffs= Attorneys
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